                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:
                                                            Case No. 10-62556
STEVEN PIXLEY,                                              Chapter 7
                                                            Judge Thomas J. Tucker
                Debtor.
                                 /

JOYCE McCALLUM,

                Plaintiff,

v.                                                          Adv. No. 10-6665

STEVEN PIXLEY,

                Defendant.
                                /

                                        TRIAL OPINION

I. Introduction

         In this adversary proceeding, Plaintiff Joyce McCallum seeks a determination that

Defendant Debtor Steven Pixley’s judgment debt to McCallum is non-dischargeable under 11

U.S.C. § 523(a)(2)(A) for fraud, and under 11 U.S.C. § 523(a)(6) for “willful and malicious

injury.” Eighteen months before Pixley filed his Chapter 7 bankruptcy petition, McCallum

obtained a default judgment against Pixley in the Tuscola County, Michigan Circuit Court, in the

amount of $157,028.03, plus costs and interest.

         The state court default judgment was entered after Pixley failed to answer McCallum’s

complaint. Pixley did not defend or participate in any way in the state court action, and never

appealed or sought relief in the state court from the default judgment. The default judgment

granted judgment for McCallum on all counts of McCallum’s state court complaint, including




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counts for fraud and conversion.

        Before trial in this adversary proceeding, McCallum moved for summary judgment,

arguing that collateral estoppel precluded Pixley from contesting that his debt to McCallum was

nondischargeable under §§ 523(a)(2)(A) and 523(a)(6). The Court denied McCallum’s motion

for summary judgment, for reasons explained at length in a published opinion. McCallum v.

Pixley (In re Pixley), 456 B.R. 770 (Bankr. E.D. Mich. 2011).

        The Court then held a bench trial, after which the parties filed post-trial briefs regarding

certain issues. The Court has considered all of the arguments and evidence presented by the

parties at trial, as well as the post-trial briefs. This opinion states the Court’s findings of fact and

conclusions of law.

        For the reasons stated in this opinion, the Court finds for Plaintiff McCallum, and will

enter a judgment in her favor, determining that Pixley’s entire judgment debt to McCallum is

nondischargeable under 11 U.S.C. § 523(a)(6).

II. Jurisdiction

        This Court has subject matter jurisdiction over this adversary proceeding under 28 U.S.C.

§§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a)(E.D. Mich.). This is a core

proceeding under 28 U.S.C. § 157(b)(2)(I).

III. Background and facts

        A. Stipulated facts

        Initially, the Court finds the following facts, which the parties have stipulated to:1



        1
          These are quoted from the written stipulations made by the parties, contained in the Final
Pretrial Order (Docket # 61) at 3 ¶ 4.

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               A.      In 2007, Plaintiff entered into an agreement with debtor
                       whereby debtor's company would convert a Chrysler 300
                       automobile to a limousine for the Plaintiff;

               B.      In 2008, Plaintiff sued debtor in the 54th Circuit Court for
                       Tuscola County Michigan;

               C.      Defendant did not answer the State Court Complaint;

               D.      A default was entered against defendant on June 25, 2008;

               E.      A motion for a default judgment was filed on December 12,
                       2008 by Plaintiff against debtor;

               F.      On January 21, 2009, a default judgment was entered
                       against debtor in the amount of $157,028.03 which
                       included treble damages due to debtor's liability for
                       statutory conversion;

               G.      Debtor has not paid the state court judgment[.]

       B. Collateral estoppel and the Court’s summary judgment decision

       There are collateral estoppel issues that remain to be decided now, after the trial of this

case. Because collateral estoppel was discussed extensively in the Court’s summary judgment

opinion, the Court will describe some of its rulings made in the summary judgment opinion.

       To begin with, the Court reiterates, and incorporates by reference into this opinion, the

Court’s opinion denying McCallum’s motion for summary judgment. Next, some of the key

points from the Court’s summary judgment opinion are described here, because they are relevant

to the Court’s decision now.

       First, the Court stated the following general principles in its summary judgment opinion,

regarding the doctrine of collateral estoppel:

               Collateral estoppel applies in nondischargeability proceedings
               under the Bankruptcy Code, such as this adversary proceeding.


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           Grogan v. Garner, 498 U.S. 279, 284 n.11 (1991). “Collateral
           estoppel . . . prevents a party from relitigating issues of fact or law
           which were necessarily decided by a previous final judgment.”
           Smith v. Sushka, 117 F.3d 965, 969 (6th Cir. 1997). In determining
           whether a state court judgment precludes relitigation of issues
           under the doctrine of collateral estoppel, the Full Faith and Credit
           Statute, 28 U.S.C. § 1738, requires bankruptcy courts to “‘consider
           first the law of the State in which the judgment was rendered to
           determine its preclusive effect.’” Bay Area Factors v. Calvert (In
           re Calvert), 105 F.3d 315, 317 (6th Cir. 1997)(quoting Marrese v.
           Am. Acad. of Orthopaedic Surgeons, 470 U.S. 373, 375 (1985)). If
           the state courts would not deem the judgment binding under
           collateral estoppel principles, then the bankruptcy court cannot do
           so either. But if the state courts would give preclusive effect to the
           judgment, then the bankruptcy court must also give the judgment
           preclusive effect, “unless Congress has expressly or impliedly
           created an exception to § 1738 which ought to apply to the facts
           before the federal court.” Id. (citing Marrese, 470 U.S. at 386).

           In Calvert, the Sixth Circuit held that there is no such express or
           implied exception under § 1738 in dischargeability actions. The
           court found no indication of such an exception “in the Bankruptcy
           Code or legislative history.” And the court reasoned that there is
           “no principled distinction between cases where a defendant
           participates in part in defense of the state court suit and cases
           where the defendant does not respond at all.” 105 F.3d at 322.
           The court held that “collateral estoppel applies to true default
           judgments in bankruptcy dischargeability proceedings in those
           states which would give such judgments that effect.” Therefore,
           the Court must look to the law of Michigan to determine the
           collateral estoppel effect of the default judgment in this adversary
           proceeding.

           Under Michigan law, the following requirements must be met in
           order for collateral estoppel to apply:

           1) there is identity of parties across the proceedings,

           2) there was a valid, final judgment in the first proceeding,

           3) the same issue was actually litigated and necessarily determined
           in the first proceeding, and



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               4) the party against whom the doctrine is asserted had a full and
               fair opportunity to litigate the issue in the earlier proceeding.

               Phillips v. Weissert (In re Phillips), 434 B.R. 475, 485 (B.A.P. 6th
               Cir. 2010)(citation omitted).

McCallum, 456 B.R. at 775-76 (footnote omitted).

        Second, after discussing the federal and Michigan case law on the issue, this Court held

in its summary judgment opinion that under Michigan law, a “true default” judgment is given

preclusive effect under the doctrine of collateral estoppel:

               The Court holds that under Michigan law a “true default”
               judgment, like the one in this case, meets Michigan’s “actually
               litigated” requirement, and must be given preclusive effect under
               the doctrine of collateral estoppel. “Substantial participation” by
               the defendant in the state court case is not necessary in order for
               collateral estoppel to apply. No participation is necessary.

Id. at 777.

        Third, this Court discussed the “actually litigated” and “necessarily determined”

requirements for collateral estoppel to apply under Michigan law, and what those requirements

mean:

               Under Michigan law, an issue is “actually litigated” if it is “put
               into issue by the pleadings, submitted to the trier of fact for
               determination, and is thereafter determined.” Phillips, 434 B.R. at
               486 (majority opinion)(quoting Latimer v. William Mueller & Son,
               Inc., 386 N.W.2d 618, 627 (Mich. Ct. App. 1986)); Phillips, 434
               B.R. at 490 (Rhodes, J., concurring) (same). This Court agrees
               with the concurring opinion in Phillips that “[a]n issue may be
               actually litigated without a trial;” id., and that:

                       Under Michigan law, “the entry of a default
                       judgment is equivalent to an admission by the
                       defaulting party as to all of the matters well
                       pleaded.” Sahn v. Brisson's Estate, 43 Mich.App.
                       666, 204 N.W.2d 692, 694 (1972); Lesisko v.


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                        Stafford, 293 Mich. 479, 292 N.W. 376, 377 (1940).
                        The only matters that are not considered actually
                        litigated are those not pled.

                 Id. at 492 (Rhodes, J., concurring)(emphasis added).

                 An issue that is “actually litigated” is also considered to be
                 “necessarily determined” if “it is necessary to the judgment.” See
                 id. at 493; see also Rohe Scientific Corp. v. Nat’l Bank of Detroit,
                 350 N.W.2d 280, 282 (Mich. Ct. App. 1984)(citation
                 omitted)(“Collateral estoppel applies to default judgments;
                 however the default judgment is conclusive only as to those
                 matters essential to support the judgment.”); Detroit Automobile
                 Inter-Insurance Exchange v. Higginbotham, 290 N.W.2d 414, 418
                 (Mich. Ct. App. 1980)(same). Whether an “actually litigated”
                 issue is also “necessary to the judgment,” or “essential to the
                 judgment,” in turn, depends on the elements of the claim or
                 defense involved.

Id. at 778-79.

        Fourth, the Court noted that “[i]t is clear, and undisputed, that the existence and amount

of Pixley’s debt to McCallum were both ‘actually litigated and necessarily determined’ by the

default judgment.” Id. at 778. But, the Court noted, “as to both § 523(a)(2)(A) and § 523(a)(6),

the parties dispute whether all of the elements of non-dischargeability were both ‘actually

litigated and necessarily determined’ by the default judgment.” Id.

       Fifth, the Court ruled that two of the necessary elements of McCallum’s § 523(a)(2)(A)

nondischargeability claim were not “actually litigated” in the state court default judgment,

because they were not pled in McCallum’s state court complaint. These are the elements that (1)

an alleged misrepresentation by Pixley was “material;” and (2) that McCallum’s actual reliance

on an alleged misrepresentation was “justifiable.”2 See id. at 782-85, 784 n.14. As a result,


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         The Court stated the elements of a § 523(a)(2)(A) nondischargeabilty claim in its summary
judgment opinion, 456 B.R. at 779, as follows:

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McCallum could not obtain a summary judgment of nondischargeability under § 523(a)(2)(A),

based on collateral estoppel.

       Sixth, the Court ruled that all of the necessary elements of McCallum’s § 523(a)(6)

nondischargeability claim, for “willful and malicious injury,” were “actually litigated” in the state

court default judgment, because they were pled in McCallum’s state court complaint. Id. at 785-

87. But the Court ruled that the willfulness element under § 523(a)(6) was not “necessarily

determined” by the state court default judgment. Id. at 787-90. This is because under both

Michigan common law and Michigan’s conversion statute, Mich. Comp. Laws § 600.2919a, “the

tort of conversion does not require an intent to violate the property rights of another, or

knowledge that one is violating the property rights of another. Rather, the tort can be committed


               Section 523(a)(2)(A) makes nondischargeable:

                       any debt —
                       ...

                       for money, property, services, or an extension, renewal,
                       or refinancing of credit, to the extent obtained by . . .
                       false pretenses, a false representation, or actual fraud,
                       other than a statement respecting the debtor’s or an
                       insider’s financial condition[.]

               11 U.S.C. § 523(a)(2)(A). The Sixth Circuit has described the elements
               of nondischargeability under § 523(a)(2)(A) in this way:

                       In order to except a debt from discharge under
                       § 523(a)(2)(A), a creditor must prove the following
                       elements: (1) the debtor obtained money through a
                       material misrepresentation that, at the time, the debtor
                       knew was false or made with gross recklessness as to its
                       truth; (2) the debtor intended to deceive the creditor; (3)
                       the creditor justifiably relied on the false representation;
                       and (4) its reliance was the proximate cause of loss.

               Rembert v. AT&T Universal Card Servs., Inc. (In re Rembert), 141 F.3d
               277, 280-81 (6th Cir. 1998)(footnote and citation omitted).

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‘unwittingly’.” Id. at 788. Thus, the Court concluded as follows:

                 The Court concludes that Pixley’s liability for conversion under the
                 Michigan conversion statute — specifically, Mich. Comp. Laws
                 § 600.2919a(1)(a) — did not require an allegation or proof that
                 Pixley intended to violate McCallum’s property rights, or that he
                 knowingly did so. As a result, the Court concludes that the
                 allegations in the State Court Complaint that amount to an
                 allegation that the injury to McCallum was “willful” within the
                 meaning of § 523(a)(6) — i.e., that Pixley intended to cause injury
                 to McCallum, or knew that his actions would cause injury to
                 McCallum, or believed that his actions would cause or were
                 substantially certain to cause injury to McCallum — were not
                 “necessary to” or “essential to support” the default judgment for
                 conversion under Michigan law.

                 ...

                 [T]he issue of whether Pixley’s injury to McCallum’s property was
                 “willful” was not “necessarily determined” by the default judgment
                 against Pixley. As a result, the Court cannot grant summary
                 judgment for McCallum on her non-dischargeability fraud claim
                 under § 523(a)(6), based on collateral estoppel.

Id. at 788-90.

IV. Discussion

       A. Update on the “true default” issue

       As noted above, in its summary judgment opinion, this Court held that under Michigan

law, a “true default” judgment is given preclusive effect under the doctrine of collateral estoppel.

To supplement and update its discussion of that point in its summary judgment opinion, the

Court now adds the following.

       In a case decided after this Court filed its summary judgment opinion, the Bankruptcy

Appellate Panel for the Sixth Circuit expressed doubt about whether Michigan law gives

preclusive effect to any default judgment under the doctrine of collateral estoppel. In Dantone v.


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Dantone (In re Dantone), 477 B.R. 28 (B.A.P. 6th Cir. 2012), the court quoted from a 1990

Michigan Supreme Court decision, Lichon v. Am. Universal Ins. Co., 459 N.W.2d 288 (Mich.

1990), as suggesting that under Michigan law, a default judgment is given no preclusive effect,

because nothing is deemed to have been “actually litigated.” See 477 B.R. at 36-37. The court in

Dantone further noted that “Michigan bankruptcy courts appear to have overlooked Lichon in

ruling on the preclusive effect of default judgments by Michigan state courts.” Id. at 37.

Dantone said the following about the Lichon case:

               [T]he Panel requested supplemental briefing on the issue of
               whether a default judgment meets the “actually litigated”
               requirement for issue preclusion because it appears that the
               Michigan Supreme Court may not give issue preclusive effect to
               such judgments. In Lichon v. American Universal Insurance Co.,
               435 Mich. 408, 459 N.W.2d 288 (1990), the Michigan Supreme
               Court indicated that a default judgment is not entitled to preclusive
               effect because none of the issues is actually litigated. Id. at 299.
               The Michigan Supreme Court quoted with approval from comment
               e of 27 of the Second Restatement of Judgments:

                      Under 1 Restatement Judgments, 2d, § 27, p. 250,
                      collateral estoppel applies “[w]hen an issue of fact
                      or law is actually litigated and determined by a valid
                      and final judgment . . . .” Comment e to this section
                      clarifies this rule: “A judgment is not conclusive in
                      a subsequent action as to issues which might have
                      been but were not litigated and determined in the
                      prior action.”

                      ....

                      Comment e of the Restatement Judgments, 2d, § 27,
                      p. 257, further indicates that “[i]n the case of a
                      judgment entered by confession, consent, or default,
                      none of the issues is actually litigated.”

               Id. at 298-99 (internal citation omitted). Given the Michigan
               Supreme Court's favorable citations to § 27 of the Second


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                 Restatement of Judgments and to comment e in particular, and
                 given no later case law from the Michigan Supreme Court
                 repudiating this pronouncement, it seems fair to conclude that a
                 default judgment entered by a state court in Michigan generally has
                 no issue preclusive effect. . . .

                 Michigan bankruptcy courts appear to have overlooked Lichon in
                 ruling on the preclusive effect of default judgments by Michigan
                 state courts. See In re Phillips, 434 B.R. at 486 (detailing
                 disagreement among courts regarding the preclusive effect of
                 default judgments and collecting cases). However, the Panel
                 concludes that it need not decide whether the state court judgment
                 at issue in this case was actually litigated because Debtor conceded
                 the element of “actually litigated” in briefing before the bankruptcy
                 court.


477 B.R. at 36-37 (citation omitted).

       To date, one other case from this district has pointed out that the foregoing discussion in

Dantone is dictum, and also has disagreed with Dantone’s interpretation of the Lichon case. See

Comerica Bank v. Kory (In re Kory), No. 11-7099, 2013 WL 1340215, at *3 (Bankr. E.D. Mich.

March 28, 2013)(Shapero, J.).3

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           Among other things, the court in Kory stated:

                 [W]ith all due respect to the In re Dantone court, it appears that its
                 reliance on Lichon is misplaced.
                 ...

                 Lichon does not deal with default judgments, as In re Dantone suggests
                 it does. Lichon's essential holding was that collateral estoppel does not
                 preclude a man who previously pled nolo contendere to a crime from
                 raising the defense that he did not commit that act in a subsequent civil
                 suit. In reaching this conclusion, the Lichon court discussed at length the
                 nature and rationale of the nolo contendere plea, but did not discuss
                 default judgments as In re Dantone suggests. There are important
                 distinctions between a nolo contendere plea and a default judgment, both
                 conceptually and procedurally. It is perhaps possible for one to seek to
                 liken the two because neither seems to involve “actual litigation” of an
                 issue on its merits. But neither the Lichon nor the In re Dantone courts
                 actually engaged in this analysis nor actually decided the point.

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        In addition, the above cited dictum in Dantone is simply incorrect about Michigan law.4

First and foremost, Dantone overlooked the fact that in a case decided sixteen years after Lichon,

the Michigan Supreme Court explicitly held that a default judgment is to be given preclusive

effect under the doctrine of collateral estoppel. See Barnes v. Jeudevine, 718 N.W.2d 311, 315

(Mich. 2006). So even if the 1990 decision in Lichon stands for a contrary position, that position

is no longer the law of Michigan, given the 2006 decision in Barnes.

        The holding of Barnes was noted by the court in Kory, 2013 WL 1340215, at *2, and was

also explained, at length, in the concurring opinion in Phillips v. Weissert (In re Phillips), 434

B.R. 475 (B.A.P. 6th Cir. 2010):

                In Barnes v. Jeudevine, 475 Mich. 696, 718 N.W.2d 311 (2006),
                the court unequivocally stated, “[a] default judgment is just as
                conclusive an adjudication and as binding upon the parties of
                whatever is essential to support the judgment as one which has
                been rendered following answer and contest.” Id. at 315 (citing
                and quoting with approval, Perry & Derrick Co. v. King, 24
                Mich.App. 616, 180 N.W.2d 483, 485 (1970)). This is the
                strongest possible indication that the Michigan Supreme Court
                does not distinguish among judgments, whether entered by
                default or otherwise, in applying the preclusive effect of the
                collateral estoppel doctrine.

                In Barnes, the plaintiff alleged that he was the biological father of a
                child that was conceived while the child’s mother was married to
                another man and that was born four months after the mother’s
                divorce. The mother’s default judgment of divorce stated that it
                appeared that “no children were born of this marriage and none are
                expected.” The question presented was whether that finding
                precluded the mother from asserting that her ex-husband was the


2013 WL 1340215, at *3.
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          As this Court noted previously in its summary judgment opinion, McCallum, 456 B.R. at 777
n.3 (and as held by cases cited therein), decisions of the Bankruptcy Appellate Panel are not binding on
this Court as a matter of stare decisis.

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                father and whether the plaintiff was therefore precluded from
                asserting paternity under the Michigan Paternity Act, Mich. Comp.
                Laws § 722.711, and the case law construing that Act. The
                question turned on whether the finding in the divorce judgment
                was a sufficient finding that the child was not the issue of the
                marriage. The court held that it was not a sufficient determination
                and that therefore the plaintiff lacked standing to assert paternity.
                In so holding, the court relied on its prior decision in Girard v.
                Wagenmaker, 437 Mich. 231, 470 N.W.2d 372 (1991), which held
                that “in order for a biological father to establish standing under the
                Paternity Act, there must be a ‘prior court determination that a
                child is born out of wedlock.’” Barnes, 718 N.W.2d at 314
                (quoting Girard, 470 N.W.2d at 372). The court held that the
                language in the divorce judgment was simply not a prior
                determination that the child was born out of wedlock.

                What is important here is that although the Michigan Supreme
                Court rejected the plaintiff’s collateral estoppel argument, it did so
                only because the question of the child’s paternity had not been
                determined in the prior divorce judgment. It did not reject the
                collateral estoppel argument because the prior divorce judgment
                was a default judgment. Indeed, as noted above, the court
                explicitly stated that a default judgment is entitled to the same
                preclusive effect as a judgment that follows an answer and a
                contest. Because the Michigan Supreme Court so held, we are
                bound to that holding in applying collateral estoppel in a
                nondischargeability action.

434 B.R. at 491-92 (Rhodes, J., concurring)(emphasis added).

       Because of the Barnes case, this Court concludes that Dantone is incorrect in its reading

of Michigan law. This is further confirmed by other Michigan cases, decided after Barnes, and

which cite Barnes in holding that a default judgment is given preclusive effect. See, e.g., Reed

Estate v. Reed, 810 N.W.2d 284, 292 and n.30 (Mich. Ct. App. 2011)(citing Barnes for the

proposition that “[a] long history of caselaw recognizes that default judgments are conclusive

adjudications and are as binding on the litigants as judgments obtained following a trial or

settlement.”); Fair v. Moody, No. 278906, 2008 WL 5382648, at *11 (Mich. Ct. App. Dec. 23,


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2008)(unpublished)(same); see also Eager v. Credit Bureau Collection Services, Inc., Nos. 1:13-

CV-30, 1:13-CV-84, 1:13-CV-159, 1:13-CV-173, 1:13-CV-261, 1:13-CV-267, 1:13-CV-341,

2013 WL 5719224, at *3 and n.6 (W.D. Mich. Oct. 18, 2013); Fifth Third Bank v. U.S. Dep’t of

Agriculture-Rural Dev., No. 1:12-CV-1123, 2013 WL 529858, at *3 (W.D. Mich. Feb. 11,

2013).

         Of the cases just cited, the federal district court in Eager cited Barnes as “the most

authoritative source on whether a true default judgment (based on the defendant's failure to

appear or otherwise defend) fulfills the actually litigated requirement under Michigan law,” and

held that such a “true default judgment” does satisfy the “actually litigated” requirement. Eager,

2013 WL 5719224, at *3 n.6.

         Based on these cases, and based on the other cases discussed in the Court’s summary

judgment opinion, 456 B.R. at 777-78,5 the Court reiterates its previous holding that a true


         5
             Among other things, the Court noted the following in its summary judgment opinion:

                  The Court reaches this conclusion based on the arguments and
                  authorities presented in Judge Rhodes’s concurring opinion in Phillips,
                  which the Court finds persuasive, and also based on the following two
                  points.

                  First, at least two published Michigan Court of Appeals cases have
                  applied collateral estoppel based on a “true default” judgment (i.e., a
                  default judgment entered after the defendant did not answer, defend, or
                  participate in any way in the case). See Sahn v. Estate of Brisson, 204
                  N.W.2d 692, 693-94 (Mich. Ct. App. 1973); Braxton v. Litchalk, 223
                  N.W.2d 316, 318, 320 (Mich. Ct. App. 1974).

                  Second, the Court is not aware of any published Michigan appellate
                  decision that has refused to apply collateral estoppel to a default
                  judgment for the reason that it was entered without participation in the
                  case by the defaulted defendant.

(footnote, discussing the Sahn and Braxton cases at length, omitted).

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default judgment is to be given preclusive effect under Michigan law of collateral estoppel.6

        B. The remaining unresolved dispute about collateral estoppel

        There remains a further dispute between the parties about collateral estoppel. As

described above, the Court ruled in its summary judgment opinion that collateral estoppel does

not preclude Pixley from contesting certain specific elements of McCallum’s §§ 523(a)(2)(A)

and 523(a)(6) nondischargeability claims, because those specific elements were not both

“actually litigated” and “necessarily determined” in the state court default judgment. Pixley now

argues that because of this, he is not precluded from contesting any of the nondischargeability

elements. In effect, Pixley now argues that collateral estoppel drops out of the case entirely.

Pixley states the argument this way in his post-trial brief: “[c]ollateral estoppel may be applied to

a valid and final judgment on an all or nothing basis; collateral estoppel does not apply to

conclusively establish only certain elements for a cause of action . . . .”7



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           This conclusion is further supported directly by the Michigan case of Perry & Derrick Co., Inc.
v. King, 180 N.W.2d 483, 485 (Mich. Ct. App. 1970), which was quoted with approval in the Barnes
case. In King, the prior judgment on which collateral estoppel preclusion was applied was a true default
judgment — i.e., the corporate defendant in the prior action had not answered the complaint or otherwise
participated in the case in any way before the default judgment was entered against it. King, 180 N.W.2d
at 484. It was in this context, of a true default judgment, that the Michigan Court of Appeals held as
follows:

                  The fact that the original judgment against the flour company was
                  obtained through default does not affect the result we now reach. A
                  default judgment is just as conclusive an adjudication and as binding
                  upon the parties of whatever is essential to support the judgment as one
                  which has been rendered following answer and contest. As is true with a
                  judgment on the merits, a default judgment will bar a second suit
                  between the same parties and their privies on the same cause of action.

Id. at 485-86.
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            Def.’s Post-Trial Br. (Docket # 89) at 2.

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        McCallum, on the other hand, argues that Pixley is precluded by collateral estoppel from

contesting all those elements of nondischargeability that were both actually litigated and

necessarily determined in the state court default judgment. This is so, McCallum argues, even if

some of the nondischargeability elements were not actually litigated and necessarily determined

in the default judgment. Thus, McCallum disputes Pixley’s argument that collateral estoppel is

an all-or-nothing proposition. As McCallum puts it, collateral estoppel preclusion “is not limited

to entire judgments but is appropriately applied to issues within a prior judgment.”8

        McCallum is correct. First, Pixley has cited no authority that supports his “all or nothing”

view of collateral estoppel. Pixley argues that this is how the doctrine is applied in the Sixth

Circuit,9 but cites no case that actually says that or demonstrates that. Rather, the Sixth Circuit

has taken an issue-by-issue approach to collateral estoppel, not Pixley’s all-or-nothing approach.

In its summary judgment opinion in this case, for example, this Court quoted a 1997 Sixth

Circuit case as follows:

                   “Collateral estoppel . . . prevents a party from relitigating issues of
                   fact or law which were necessarily decided by a previous final
                   judgment.” Smith v. Sushka, 117 F.3d 965, 969 (6th Cir. 1997).

McCallum, 456 B.R. at 775 (emphasis added).10


        8
             Pl.’s Post-Hearing Br. (Docket # 85) at 3.
        9
             Def.’s Post-Trial Br. (Docket # 89) at 4-5.
        10
            In his post-trial brief, Pixley cites the Sixth Circuit case of Spilman v. Harley, 656 F.2d 224
(6th Cir. 1981), but it is not at all apparent how Spilman supports Pixley’s all-or-nothing approach to
collateral estoppel. In any case, in Bay Area Factors v. Calvert (In re Calvert), 105 F.3d 315, 319 (6th
Cir. 1997), the Sixth Circuit recognized that because Spilman applied the federal common law of
collateral estoppel, it was implicitly overruled by Marrese v. American Academy of Orthopaedic
Surgeons, 470 U.S. 373, 380 (1985), which “instructed federal courts [applying collateral estoppel to a
state court judgment] to use the preclusion principles of the state where the judgment was entered and not
to employ their own rules of preclusion.”

                                                       15



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       A second problem with Pixley’s argument is that Pixley gives no logical reason

supporting his view of the law. Rather, Pixley’s argument seems to confuse collateral estoppel,

which is commonly known as “issue preclusion,” with the doctrine of res judicata, which is

commonly known as “claim preclusion.”

       Third, Michigan cases cited by McCallum show that McCallum is correct. Those cases

define collateral estoppel, and apply it, on an issue-by-issue basis. For example, in People v.

Gates, 452 N.W.2d 627, 630 (Mich. 1990), the Michigan Supreme Court described collateral

estoppel in this way:

                Collateral estoppel precludes relitigation of an issue in a
                subsequent, different cause of action between the same parties
                where the prior proceeding culminated in a valid, final judgment
                and the issue was (1) actually litigated, and (2) necessarily
                determined.

(Emphasis added) (footnote omitted) (citations omitted). Similarly, in Hackley v. Hackley, 395

N.W.2d 906, 910 (Mich. 1986), the Michigan Supreme Court described the concept of what it

labeled as both “collateral estoppel” and “issue preclusion” in this way:

                “The general principle announced in numerous cases is that a
                right, question or fact distinctly put in issue and directly
                determined by a court of competent jurisdiction, as a ground of
                recovery, cannot be disputed in a subsequent suit between the same
                parties or their privies; and even if the second suit is for a different
                cause of action, the right, question or fact once so determined
                must, as between the same parties or their privies, be taken as
                conclusively established, so long as the judgment in the first suit
                remains unmodified.”

(Emphasis added)(quoting, with approval, United States v. Moser, 266 U.S. 236, 241 (1924)).

       Michigan’s issue-based approach to collateral estoppel is consistent with the way

bankruptcy courts generally have applied collateral estoppel in dischargeability actions. Case


                                                  16



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law applies collateral estoppel to preclude litigation of one or more of the elements of a

dischargeability claim, even where collateral estoppel does not bar litigation of other elements of

the claim. See, e.g., In re Esposito, 44 B.R. 817, 823-24, 826 (Bankr. S.D.N.Y. 1984). In

Esposito, the bankruptcy court found that “while collateral estoppel [was] applicable to establish

every other element of [the plaintiff creditors’ claim under 11 U.S.C.] §[§] 523(a)(2)(A) and (B),

namely that [the debtor] Esposito intentionally obtained the money through false representations

and false financial statements, collateral estoppel [could not] be used to establish reasonable

reliance. Id. At 824.” The court nevertheless granted the plaintiffs’ motion for summary

judgment on the §§ 523(a)(2)(A) and (B) grounds in their complaint, because the reasonable

reliance element was established by the factual attestations in the affidavits filed in support of the

plaintiffs’ motion for summary judgment, which were not refuted by Esposito.

        For these reasons, the Court concludes that Pixley is precluded from contesting any of the

nondischargeability elements that were both actually litigated and necessarily determined by the

state court default judgment.

        C. Application of collateral estoppel to McCallum’s § 523(a)(6) claim

        As noted in part III-B of this opinion, and as the Court stated in its summary judgment

opinion, “[i]t is clear, and undisputed, that the existence and amount of Pixley’s debt to

McCallum were both ‘actually litigated and necessarily determined’ by the [state court] default

judgment.” See McCallum, 456 B.R. at 778. Pixley’s total debt to McCallum under the default

judgment is $157,028.03, plus interest, as stated in the judgment.11 It is clear from page 2 of the


        11
            See Joint Exhibit 7 (the Default Judgment) at 2; Stipulated Facts F and G, quoted in Part III-A
of this opinion. (Henceforth, the joint exhibits that were admitted into evidence at trial are cited in this
opinion as “JX-_).

                                                     17



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default judgment that this judgment amount consists of $50,600.00 in damages trebled, which

equals $151,800.00, plus attorney fees of $4,760.00 and costs of $468.03, for a judgment total of

$157,028.03. The default judgment granted judgment against Pixley on every count of

McCallum’s six-count complaint, which included, in Count III, a claim for conversion under

Michigan’s conversion statute, Mich. Comp. Laws § 600.2919a. The default judgment’s trebling

of the damages was explicitly based on the conversion count and on Michigan’s conversion

statute, and the judgment also awarded the attorney fees based on the conversion count and

conversion statute.

        In its summary judgment opinion, this Court discussed McCallum’s state court

conversion claim (Count III of the state court complaint) at length. McCallum, 456 B.R. at 785-

89; see also id. at 782-83. The Court incorporates that entire discussion here, by reference.

Briefly stated, the conversion claim was that McCallum paid Pixley a total of $50,600.00 toward

the purchase of a Chrysler 300 that was to be converted into a limousine, and that Pixley failed to

deliver the limousine and failed to return any of the $50,600.00 that McCallum had paid him.

Count III of McCallum’s state court complaint alleged that Pixley converted the $50,600.00 that

McCallum had paid him. The default judgment determined, conclusively, that Pixley did convert

this $50,600.00 of McCallum’s money.12 See, e.g., Phillips v. Weissert (In re Phillips), 434 B.R.

        12
           Michigan law recognizes a cause of action for conversion of money under certain
circumstances, including, arguably at least, circumstances like those alleged in McCallum’s state court
complaint. See, e.g., Carpenters’ Pension Trust Fund Detroit & Vicinity v. Laminate Creations, 803
F.2d 718 (unpublished table decision), 1986 WL 17726, at *2, (6th Cir. 1986). In Carpenters’ Pension
Trust Fund, the Court stated:

                [I]t is a settled principle of Michigan tort law that ‘an action for
                conversion of money is not maintainable unless there is an obligation on
                the part of the defendant to return or apply the specific money
                entrusted to his care.’ ‘Though money is property which it is often

                                                   18



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475, 485-87 (B.A.P. 6th Cir. 2010)(majority of B.A.P. panel holding that Michigan state court

judgment must be given preclusive effect as to the defendant-debtor’s tort liability and the

amount of damages, even where collateral estoppel did not give preclusive effect on § 523(a)(6)

non-dischargeability issue).

        On this claim and legal theory, the default judgment held Pixley liable to McCallum for

statutory conversion, and awarded judgment in the amounts described above. McCallum

contends that Pixley’s judgment debt for conversion is nondischargeable under 11 U.S.C.

§ 523(a)(6).

        In its summary judgment opinion, this Court concluded that all of the necessary elements

of McCallum’s § 523(a)(6) nondischargeability claim, for “willful and malicious injury,” were

“actually litigated” in the state court default judgment, because they were pled in McCallum’s

state court complaint. McCallum, 456 B.R. at 785-87. But the Court ruled that the willfulness

element under § 523(a)(6) was not “necessarily determined” by the state court default judgment.

Id. at 787-90. This is because under both Michigan common law and Michigan’s conversion

statute, Mich. Comp. Laws § 600.2919a, “the tort of conversion does not require an intent to

violate the property rights of another, or knowledge that one is violating the property rights of

another. Rather, the tort can be committed ‘unwittingly’.” Id. at 788.


                difficult to identify, it is well settled that an action of trover will lie for
                its conversion when such identification is possible, and there is an
                obligation to deliver the specific money in question.’

(Emphasis added) (citations omitted).

         Of course, even if Pixley might have had a colorable argument that the circumstances alleged by
McCallum’s state court complaint do not give rise to an action for conversion of money, Pixley forfeited
the right to make such an argument when he failed to timely answer the state court complaint and
suffered the default judgment. And Pixley has not argued otherwise in this adversary proceeding.

                                                       19



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       The Court did not rule, in its summary judgment opinion, whether the maliciousness

element under § 523(a)(6) was “necessarily determined” by the state court default judgment.

       The Court now reiterates and adopts the above conclusions from its summary judgment

opinion. The Court now must determine, after trial, whether Pixley’s conversion of McCallum’s

$50,600.00 was both “willful” and “malicious” as those terms are used in § 523(a)(6).

       D. The “willful” and “malicious” elements under § 523(a)(6)

       The Court described the meaning of these § 523(a)(6) elements in its summary judgment

opinion:

                In order to establish nondischargeability under § 523(a)(6), a
                creditor must show an injury to person or property by the debtor
                that is both “willful” and “malicious.” “[T]o find a ‘willful’ injury
                under § 523(a)(6), [the court] must determine either that (i) the
                actor desired to cause the consequences of the act or (ii) the actor
                believed that the given consequences of his act were substantially
                certain to result from the act.” Monsanto Co. v. Trantham (In re
                Trantham), 304 B.R. 298, 307 (B.A.P. 6th Cir. 2004)(citing
                Markowitz v. Campbell (In re Markowitz), 190 F.3d 455, 464 (6th
                Cir. 1999)). “Under § 523(a)(6), ‘“[m]alicious’ means in
                conscious disregard of one's duties or without just cause or excuse;
                it does not require ill-will or specific intent.’” Id. at 308 (quoting
                Wheeler v. Laudani, 783 F.2d 610, 615 (6th Cir.1986)).

McCallum, 456 B.R. at 785.

       1. “Willful”

       As discussed above, the state court default judgment conclusively establishes that

Pixley’s failure to return to McCallum the $50,600.00 she had paid him, while simultaneously

failing to deliver to McCallum the Chrysler 300 converted limousine that McCallum had paid the

money for, was wrongful, and constituted a conversion of McCallum’s $50,600.00. Based on

(1) the facts established by the default judgment that Pixley is collaterally estopped to dispute;


                                                  20



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and (2) the evidence presented at trial, the Court finds that Pixley knew that he had no right to

simply keep McCallum’s $50,600.00 without delivering the limousine. This was not a case of

unwitting or innocent conversion by Pixley. Rather, Pixley knowingly and intentionally

converted McCallum’s money.

        Certain basic facts relevant to McCallum’s § 523(a)(6) claim are established by the

default judgment. The following allegations of McCallum’s state court complaint (“State Court

Complaint”), described in the Court’s summary judgment opinion,13 are established by the

default judgment:

                  [McCallum’s State Court Complaint] named as defendants Steven
                  Pixley and Wolverine Coach Builders, LLC.14 McCallum alleged
                  that she made an agreement with the Defendants in August 2007,
                  that Defendants would convert a Dodge Charger automobile into a
                  limousine for McCallum’s business and sell it to McCallum for the
                  price of $59,000.00, payable in monthly installments. But the
                  Defendants sold “Plaintiff’s Dodge Charger limousine” to another
                  customer, and then told McCallum of this.15 In December 2007,
                  the parties modified their contract to provide that Defendants
                  would convert a Chrysler 300 automobile into a limousine for
                  McCallum, in place of the Dodge Charger, for the same cont[r]act
                  price of $59,000.00. McCallum made her required monthly
                  payments to the Defendants, toward the $59,000.00 contract price,
                  through March 2008, at which point Defendants had 14 days under
                  the contract to complete the conversion of the Chrysler 300
                  automobile into a limousine. Under the contract, McCallum was to
                  make a final payment of $10,000.00 upon completion of the

        13
            The following quotation from the Court’s summary judgment opinion carries forward the
footnotes from that opinion, without change, except that the footnote numbers are revised to reflect the
footnote numbering in this opinion. The quoted footnotes from the summary judgment opinion primarily
contain citations to McCallum’s State Court Complaint. That complaint was admitted into evidence at
trial as JX-1.
        14
         A copy of the state court complaint appears in Exhibit A to McCallum’s Summary Judgment
Motion (Docket # 9), and is cited in this opinion as the “State Court Complaint.”
        15
             State Court Complaint ¶¶ 10-11.

                                                  21



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                   limousine and her receipt of a clear title to the vehicle.16

                           McCallum alleged that Defendants never delivered the
                   limousine or title to the limousine to her, despite the fact that
                   McCallum “was and remains ready to tender payment to
                   Defendants in the amount of $10,900.00 to satisfy her financial
                   obligations pursuant to the parties[’] contract.”17 McCallum
                   alleged that Defendants breached the contract by failing to deliver
                   the limousine and clear title to the limousine, and that Defendants
                   failed to return any of the money paid by McCallum under the
                   contract, in the amount of $50,600.00.18

                         McCallum alleged that she later discovered “that a lien
                   encumbers the title of the Chrysler 300 automobile which is held
                   by Wells Fargo Bank in the amount of $15,190.03 as creditor, with
                   Defendant Stephen Pixley named as the Debtor thereof.”19

                          Next, McCallum alleged that Defendants “at all times were
                   aware of the said lien but refused to inform [McCallum] of the
                   presence of the lien while receiving payments for the conversion of
                   the Chrysler 300,” and that Defendants “intentionally misled
                   [McCallum] with respect to the vehicle title.”20

McCallum, 456 B.R. at 782-83. The collateral estoppel effect of the state court default judgment

is sufficient to conclusively establish these facts, regardless of what evidence was presented in

the trial of this adversary proceeding. The evidence presented at trial showed some facts that are


        16
             Id. at ¶¶ 12-15.
        17
          Id. at ¶ 16. This amount, $10,900.00, appears inconsistent with the $10,000.00 amount alleged
in ¶ 15 of the State Court Complaint. In that paragraph, McCallum alleged that her final payment to
Defendants upon completion of the limousine and delivery of title was to be $10,000.00.
        18
          Id. at ¶ 16. It appears from the State Court Complaint allegations that McCallum still had
$10,900.00 left to pay toward the $59,000.00 contract price. She alleged that she paid Defendants a total
of $50,600.00. But this included a one-time late fee of $2,500.00, for making her March 2008 monthly
payment late. This left a total of $10,900.00 to be paid toward the contract price of $59,000.00.
($50,600.00 - $2,500.00 = $48,100.00; $59,000.00 - $48,100.00 = $10,900.00.) Id. at ¶¶ 13, 16.
        19
             Id. at ¶ 18.
        20
             Id. at ¶¶ 19-20.

                                                     22



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slightly different from the state court complaint allegations quoted above, but the differences are

not material to this Court’s dischargeability determination.

       The evidence at trial established that as of December 2, 2007, the parties had agreed that

the $59,000.00 contract price for the converted limousine was to be satisfied by payments from

McCallum according to the following schedule: $10,000.00 previously paid; a $9,000.00 “down”

payment; and three payments of $13,333.33, due on December 19, 2007, December 26, 2007,

and when the vehicle was completed. The “completion date” of the vehicle was to be January

15, 2008.21 McCallum paid the $9,000.00 “down” payment on December 2 or 3, 2007.22

McCallum did not make the first two payments of $13,333.33 on time. Rather, she paid

$15,000.00 by a bank check dated December 31, 2007, which Pixley received no later than

January 3, 2008.23 Pixley agreed to accept this late payment. And under the parties’ December

2, 2007 agreement, the parties agreed, McCallum would owe a single late charge of $2,500.00 for

her late payments.24 Next, McCallum paid Pixley another $15,000.00, by a check dated March

15, 2008. The parties agree that McCallum made one other payment to Pixley, in cash, on April

7, 2008, in the amount of $1,600.00. Thus, McCallum’s payments totaled $50,600.00.

            Under the parties’ contract, the total amount McCallum was to pay was $61,500.00 (the

original $59,000.00 contract price plus the $2,500.00 late charge). So her $50,600.00 in

payments left $10,900.00 still to pay.

       21
            The terms are confirmed by JX-11, and the testimony of both McCallum and Pixley.
       22
          McCallum testified that she paid this sum on December 2, 2007. JX-16 indicates that this sum
was paid on December 3, 2007.
       23
            See JX-12, JX-16; McCallum testimony.
       24
            McCallum testimony; JX-11.

                                                  23



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         The parties by their conduct agreed to push back the timetable under their December 2,

2007 agreement, described above. McCallum made her payments later than required by the

original agreement, as described above.

         Pixley delayed his performance as well. While the parties’ original agreement

contemplated a completion date of January 15, 2008 for the vehicle, the evidence shows that

Pixley delayed in acquiring the vehicle and in working on it, and could not possibly have

completed the vehicle by January 15, 2008. On December 2, 2007, McCallum had gone with

Pixley to a nearby car dealership and picked out the Chrysler 300 vehicle that Pixley was to

acquire, convert to a limousine, and sell to McCallum. The Court finds that despite Pixley’s

having given McCallum assurances, in a telephone conversation on or about December 31, 2007,

that the vehicle was nearing completion, Pixley did not even acquire the Chrysler 300 vehicle

that he was to make into the limousine until February 15, 2008. And there is no credible

evidence that Pixley caused any work to be done on the vehicle before that time. Pixley

purchased the Chrysler 300 vehicle from the dealership on February 15, 2008. That is the date of

Pixley’s application for a title to the vehicle. And as the title application shows and Pixley

admitted, Pixley paid $4,000.00 down for the vehicle, and financed the balance of his purchase of

the vehicle with a $15,757.50 loan from Wells Fargo.25 When the title to the vehicle was issued,

in Pixley’s name, on February 21, 2008, a security interest in favor of Wells Fargo was noted on

the title.26

         The relationship between McCallum and Pixley worsened considerably on April 7 and 8,


         25
               JX-15.
         26
               JX-14.

                                                   24



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2008. On April 7, 2008, McCallum met with Pixley, who told her that the vehicle was nearly

completed, but that he would need $1,600.00 from McCallum to complete the vehicle. He said

that if McCallum paid him the $1,600.00, he would get the parts he needed to complete the

vehicle, and the vehicle would be completed in two days.27 In response to this, McCallum paid

the $1,600.00 in cash to Pixley, as described above.

       The next day, on April 8, 2008, McCallum again met with Pixley. At that time,

McCallum learned for the first time about the Wells Fargo security interest in the vehicle, and

that the amount needed to pay off Wells Fargo and remove the security interest was $15,190.03.28

This, of course, was more than the $10,900.00 balance that McCallum still needed to pay under

the parties’ agreement. Pixley told McCallum that day that he would deliver the completed

vehicle, if McCallum would pay the amount needed to pay off Wells Fargo. Pixley told

McCallum that this was the only way she would get the vehicle.29

       McCallum initially decided that she would pay the extra amount demanded by Pixley, in

order to try to protect the $50,600.00 she had already paid toward the vehicle. But she changed

her mind soon after April 8, 2008, because she learned that the work on the vehicle was not

completed, contrary to what Pixley had told her. Unbeknownst to Pixley at the time, McCallum

went to Pixley’s business location where the vehicle was being worked on, saw the vehicle, and

learned from talking to some workers there that there was a lot of work still to be done on the




       27
            Tr. (Docket # 96) at 31-32 (McCallum testimony).
       28
            JX-25; Tr. (Docket # 96) at 33-34 (McCallum testimony).
       29
            Tr. (Docket # 96) at 34 (McCallum testimony).

                                                   25



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vehicle. McCallum also took pictures of the unfinished vehicle.30

       Rightly concluding that she had been deceived by Pixley, McCallum then hired an

attorney, Patrick Chatterton of Flint, Michigan. Chatterton wrote three demand letters to Pixley,

dated April 16, 2008, April 22, 2008, and May 2, 2008, all of which Pixley received by either

hand delivery or fax.31 In the first two of these letters, McCallum’s attorney stated that

McCallum was ready, willing, and able to pay the $10,900.00 that she still owed under the

parties’ contract, and demanded that Pixley promptly get the Wells Fargo lien removed from the

vehicle and tender delivery of the completed vehicle and title to the vehicle, at which time

McCallum would pay the $10,900.00 still owing.32 In the third demand letter, dated May 2,

2008, McCallum’s attorney demanded that Pixley either tender the completed vehicle or in the

alternative, pay McCallum a full refund of the money she had paid (which the letter stated was

$50,350.00). That letter demanded an immediate written reply from Pixley.33

            Pixley did not reply to this letter, in writing or otherwise; never tendered or offered to

tender delivery of the completed vehicle and title to same; and never tendered or offered to

tender, a refund of any of the money McCallum had paid. On May 8, 2008, McCallum’s attorney

filed the state court lawsuit that led to the default judgment discussed in this opinion.34

       The Court finds that Pixley knew that he had no right to simply keep all of McCallum’s



       30
            JX-24; Tr. (Docket # 96) at 36-38 (McCallum testimony);
       31
            JX-21-23.
       32
            JX-21-22.
       33
            JX-23.
       34
            JX-1-8.

                                                    26



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$50,600.00 without delivering the completed limousine. This was not a case of unwitting or

innocent conversion by Pixley. Rather, Pixley knowingly and intentionally converted

McCallum’s money. He certainly knew what McCallum had paid, and knew that he could not

both keep the vehicle himself and keep the $50,600.00 McCallum had paid for the vehicle. Yet

this is what Pixley did, knowingly and intentionally.

       The evidence shows that the Chrysler 300 vehicle’s conversion to a limousine was later

completed at some point in time, and that Pixley later advertised and used the vehicle in a

limousine service that he partly owned, known as Tecumseh Trolley & Limousine Service.35

And while Pixley knew that McCallum had not paid the remaining $10,900.00 of the purchase

price for the vehicle, the Court finds that Pixley did not believe or have any good reason to

believe that McCallum would not or could not pay that remaining amount if Pixley tendered the

completed vehicle and clean title to the vehicle, as the parties’ contract required of him, and as

was repeatedly demanded by McCallum’s attorney.

       As already noted, the state court default judgment conclusively establishes that Pixley’s

failure to return the $50,600.00 that McCallum has paid, while simultaneously failing to deliver

the completed limousine and clear title to same, was a conversion of McCallum’s money. Under

the circumstances, the Court finds that this conversion of McCallum’s property was done by

Pixley knowingly and intentionally, rather than unwittingly or innocently. As a result, the Court

concludes that the conversion by Pixley was “willful” under § 523(a)(6).

       2. “Malicious”

       The Court also concludes that Pixley’s conversion of McCallum’s money was


       35
            JX-9 at 2-3 (text description and picture of the vehicle).

                                                      27



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“malicious” within the meaning of § 523(a)(6). This element is established conclusively by the

state court default judgment, because it was “actually litigated” and “necessarily determined” by

the default judgment. As noted above, the Court previously found that this element was “actually

litigated” by the default judgment. See Part IV-C of this opinion; McCallum, 456 B.R. at 787.

And it was necessarily determined by the default judgment. In establishing that Pixley

committed the tort of conversion of McCallum’s property, the judgment necessarily established

that the conversion was “without just cause or excuse.” (As noted above, “malicious” under

§ 523(a)(6) means “in conscious disregard of one's duties or without just cause or excuse; it does

not require ill-will or specific intent.” See Part IV-D of this opinion (quoting the Court’s

summary judgment opinion, McCallum, 456 B.R. at 785.)

       For these reasons, the Court concludes that Pixley’s debt to McCallum for conversion is

nondischargeable under § 523(a)(6).

       D. The treble damages and attorney fee portion of the judgment debt

       As discussed above, Pixley’s judgment debt to McCallum for conversion includes treble

damages and a specific amount for attorney fees, based on the Michigan conversion statute. The

Court agrees with McCallum’s argument that, based on the Supreme Court’s decision in Cohen

v. De La Cruz, 523 U.S. 213 (1998), the entire judgment amount, including the treble damages

and attorney fee portion, is nondischargeable under § 523(a)(6). In Cohen, the Supreme Court

held that if a debtor is found to owe a debt that is nondischargeable for fraud under 11 U.S.C.

§ 523(a)(2)(A), then all debt that arises from or that is traceable to that fraud — including any

treble damages and attorney fees for such fraud imposed by applicable nonbankruptcy law — is

nondischargeable. The holding and reasoning of Cohen applies to actions under § 523(a)(6). See


                                                 28



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Suarez v. Barrett (In re Suarez), 400 B.R. 732, 738-39 (B.A.P. 9th Cir. 2009), aff’d, 529 Fed.

Appx. 832 (9th Cir. 2013); Monsanto Co. v. Trantham (In re Trantham), 304 B.R. 298, 309

(B.A.P. 6th Cir. 2004); Bane v. Sorayama (In re Bane), No. LA 08–1006–BB, 2010 WL

6451886, at *8 & nn.14-15 (B.A.P. 9th Cir. January 15, 2010); HER, Inc. v. Barlow (In re

Barlow), 478 B.R. 320, 333-34 (Bankr. S.D. Ohio 2012), aff’d, 501 B.R. 685 (B.A.P. 6th Cir.

2013); DirecTV, Inc. v. Karpinsky (In re Karpinsky), 328 B.R. 516, 527-28 (Bankr. E.D. Mich.

2005); R & L Pricecorp LLC v. Hall (In re Hall), No. 12–3026, 2013 WL 1739658, at *2 (Bankr.

E.D. Tenn. April 23, 2013).

        As a result, the entire debt that Pixley owes to McCallum under the state court judgment

— $157,028.03 plus post-judgment interest under applicable Michigan law — is

nondischargeable under § 523(a)(6).36

        V. Conclusion

        For the reasons stated in this opinion, the Court will enter judgment for Plaintiff

McCallum and against Defendant Pixley on Count III of McCallum’s First Amended Complaint,

determining that Pixley’s entire debt to McCallum under the state court judgment is

nondischargeable under 11 U.S.C. § 523(a)(6). The Court will dismiss Counts I and II, and that

portion of Count III of the First Amended Complaint based on 11 U.S.C. § 523(a)(2)(A), as

moot.

Signed on January 24, 2014                              /s/ Thomas J. Tucker
                                                        Thomas J. Tucker
                                                        United States Bankruptcy Judge



        36
          Because of this conclusion, it is not necessary to discuss McCallum’s claim of
nondischargeability based on fraud under § 523(a)(2)(A).

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